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                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

              Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
              Defendant,

   v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

             Defendant and Counterclaim
             Plaintiff.


NUANCE COMMUNICATIONS, INC.’S MOTION FOR LEAVE TO FILE SUR-REPLY
  IN SUPPORT OF ITS OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
          COUNTS IX-XIII OF THE FIRST AMENDED COMPLAINT
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       Pursuant to Local Rule 7.1(b)(3), Plaintiff and Counterclaim Defendant Nuance

Communications, Inc. (“Nuance”) requests leave to file a sur-reply memorandum in support of its

opposition to Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd.’s

(“Omilia”) Motion to Dismiss Counts IX-XIII of the First Amended Complaint (Dkt. No. 120).

Nuance’s proposed sur-reply is attached as Exhibit A.

       Nuance requests leave to submit a sur-reply to address what Omilia believes are erroneous

arguments of facts and law in Omilia’s reply (Dkt. No. 153) in support of Omilia’s motion to
dismiss. Omilia continues to fail to credit as true the allegations in the First Amended Complaint;

has misconstrued other allegations in the First Amended Complaint, by failing to credit reasonable

inferences in Nuance’s favor; has failed to address certain of Nuance’s arguments, and has relied

on incorrect legal standards. See generally Exhibit A. Allowing Nuance to submit the proposed

sur-reply will allow the Court to have a full and correct record in considering Nuance’s opposition

to Omilia’s motion to dismiss.

       Counsel for the parties conferred regarding the motion for leave. Omilia does not oppose

Nuance’s motion for leave to file a sur-reply.

       Accordingly, Nuance respectfully request leave to file the attached sur-reply memorandum.

Date: August 5, 2020                  Respectfully submitted,


                                      /s/ Christian E. Mammen
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                          LOCAL RULE 7.1(A)(2) CERTIFICATION

        I hereby certify that on August 5, 2020, counsel for Nuance and Omilia conferred in good

faith about this motion, but were unable to resolve or narrow the issues raised in this motion.

Omilia states that it does not oppose Nuance’s motion for leave to file a sur-reply, but reserves the

right to seek leave to file a response to the sur-reply.

                                                /s/ Christian E. Mammen
                                                Christian E. Mammen




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document and all its supporting materials will be filed through the

ECF system and will be sent electronically to the registered participants as identified on the Notice

of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on August 5, 2020.

                                                /s/ Christian E. Mammen
                                                Christian E. Mammen




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